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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division


 UNITED STATES OF AMERICA

        V.                                            Criminal No. 3:19-cr-130-MHL


 OKELLO T. CHATRIE,

        Defendant.




                                  STATEMENT OF FACTS

       The United States and the defendant agree that the factual allegations contained in this

Statement of Facts and in Counts One and Two of the Criminal Information are true and correct,

and that the United States could have proven them beyond a reasonable doubt.

       1.      On or about May 20, 2019, in the Eastern District of Virginia, the defendant,

OKELLO T. CHATRIE, by force, violence, and intimidation, did take from the person and

presence of another, namely J.W.and K.C.,employees ofthe Call Federal Credit Union located at

3640 Call Federal Drive, Midlothian, Virginia, 23112, approximately $195,000 in United States

currency, belonging to, and in the care, custody, control, management and possession of the Call

Federal Credit Union, the accounts of which were then insured by the National Credit Union

Administration Board, and in committing such offense, the defendant, OKELLO T. CHATRIE,

did put in jeopardy the life of another person by the use of a dangerous weapon, that is a firearm,

in violation of Title 18, United States Code, Sections 2113(a) and 2113(d)).

       2.      On or about May 20, 2019, in the Eastern District of Virginia, the defendant,

OKELLO T. CHATRIE, did knowingly and unlawfully use, carry, and brandish a firearm during
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and in relation to a crime of violence for which he may be prosecuted in a court of the United

States, that is, credit union robbeiy by force and violence, and intimidation, as charged in Count

One of the Criminal Information, which is re-alleged as if fully set forth here, in violation of Title

18, United States Code, Sections 924(c)(l)(A)(i) and (ii).

       3.      At approximately 4:50 p.m. eastern standard time, on May 20, 2019, CHATRIE

entered the Call Federal Credit Union in Midlothian, Virginia, with a firearm. While CHATRIE

stood in line, victim-teller J.B. asked another teller, J.W.,to assist CHATRIE when he reached the

counter.


       4.      When CHATRIE reached J.W.'s station, he presented a handwritten note. That note

read, in part, "I got your family as hostage and I know where you live. If you or your coworker

alert the cops or anyone your family and you are going to be hurt... I need at least 100k." After

J.W.told him that she did not have access to that amount of money, CHATRIE pulled out a silver

and black handgun. Waving the firearm around, he then directed J.W., other Call Federal Credit

Union employees, and customers to move to the center of the lobby and get on the floor. Once

there, CHATRIE led victims behind the teller counter and into a back room where the Credit

Union's safe was located.


       5.      Once in the back room, CHATRIE ordered everyone to their knees at gunpoint and

demanded that the bank manager open the safe. The Credit Union manager, fearing for his life,

obliged by opening the safe and handing over $195,000 in United States currency.

       6.      Additional investigation by law enforcement revealed that CHATRIE purchased a

silver and black 9mm G2C Taurus semiautomatic pistol, bearing serial number TLW87541, on

April 29,2019, at Bob Moates Sports Shop, Inc., 10418 Hull Street Rd, Midlothian, VA 23112.

       7.      Upon assessing location information associated with CHATRIE's Google account
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obtained pursuant to a GeoFence warrant, law enforcement determined that CHATRIE's travel on

May 20, 2019, showed that CHATRIE: (1) was near the church prior to the robbery at the same

time that the church witness recalled seeing the suspicious individual; (2) inside the credit union

during the robbery; and (3) immediately left the area following the robbery via the area near the

church.

          8.    On August 12, 2019, law enforcement sought and obtained a federal search

warrant for the residences located at XXXX Mason Dale Drive and XXXX Willis Street. When

executing these search warrants in the early morning of August 13, 2019, law enforcement

recovered evidence of value related to the Call Federal Credit Union robbery from XXXX Mason

Dale Drive and XXXX Willis Street.          At the XXXX Mason Dale Drive residence, law

enforcement recovered two robbery-style demand notes from the bedroom belonging to the

defendant. At XXXX Willis Street, law enforcement recovered nearly $100,000 in United States

Currency (including bills wrapped in bands signed by the victim-bank teller), a silver and black

Taurus G2C, 9mm semi-automatic pistol, bearing serial number TL W8754 l, a money counter,

and a safe.

          9.   After being placed under arrest and advised of his Miranda rights, CHATRIE

admitted to the armed robbery of the Call Federal Credit Union on May 20, 2019, and admitted to

using the Taurus G2C, 9mm semi-automatic pistol, bearing serial number TL W8754 l during the

May 20, 2019 armed robbery.

                                                     JESSICA D. ABER
                                                     United States Attorney


                                             By:     ~~~
                                                     Kenneth R. 'Simon, Jr.
                                                     Peter S. Duffey
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                                                     Assistant United States Attorneys




       I have consulted with my counsel regarding this Statement of Facts. I knowingly and

voluntarily agree that each ofthe above-recited facts is true and correct and that had this matter

gone to trial the United States could have proven each one beyond a reasonable doubt.
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Date,                                           Okello T. Chatrie
                                                Defendant




   I am counsel for defendant, Okello T. Chatrie. I have carefully reviewed this Statement of

Facts with him and,to my knowledge, his decision to agree to this Statement of Facts is an

informed and voluntary decision.



-Jl5L
Date                                            Laura Koenig
                                                Counsel for Defendant
